Case 0:16-cv-62098-WJZ Document 10 Entered on FLSD Docket 09/30/2016 Page 1 of 1

                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-62098-CIV-ZLOCH

  JOAN M. HOWARD,

             Plaintiff,

  vs.                                               FINAL ORDER OF DISMISSAL

  AMSHER COLLECTION SERVICES, INC.,

             Defendant.
                                           /

        THIS MATTER is before the Court upon the Joint Stipulation For
  Dismissal With Prejudice (DE 8) filed herein by Plaintiff, Joan M.
  Howard, and Defendant, Amsher Collection Services, Inc.              The Court
  has carefully reviewed said Stipulation and the entire court file
  and is otherwise fully advised in the premises.
        Accordingly, after due consideration, it is
        ORDERED AND ADJUDGED as follows:
        1.   The Joint Stipulation For Dismissal With Prejudice (DE 8)
  filed herein by Plaintiff, Joan M. Howard, and Defendant, Amsher
  Collection Services, Inc., be and the same is hereby approved,
  adopted and ratified by the Court;
        2.   The   above-styled    cause       be   and   the   same   is   hereby
  DISMISSED, with prejudice, each party to bear its own attorneys’
  fees and costs; and
        3.   To the extent not otherwise disposed of herein, all
  pending Motions are hereby DENIED as moot.
        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward

  County, Florida, this         30th            day of September, 2016.




                                     WILLIAM J. ZLOCH
                                     United States District Judge
  Copies furnished:
  All Counsel of Record
